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                                                                          CL;
                   IN THE UNITED STATES DISTRICT COURT                      t   L   I




                    FOR THE WESTERN DISTRICT OF               TEJEp 30                  3:   39
                              AUSTIN DIVISION
                                                                     sTp4                TEl 4
MARIA BROMLEY AND KLEBER                   §
PAUTA, ON BEHALF OF THEMSELVES             §
AND ALL OTHERS SIMILARLY                   §
SITUATED,                                  §
                PLAINTIFFS,                §
                                           §      CIVIL NO.   1   :20-C V-43 9-LY
V.                                         §
                                           §
SXSW, LLC AND SXSW HOLDINGS,               §
INC.,                                      §
                DEFENDANTS.                §


                                        I) 1 fl

     IT IS ORDERED that the jury trial setting in the month of October 2021 in this case is

CANCELED.

     SIGNED this               day of September, 2021.




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